Case 2:19-cv-01833-JWH-MRW Document 50 Filed 05/03/21 Page 1 of 1 Page ID #:2020



 1
                                                                   J S -6
 2
 3
 4
 5
 6
 7
 8
 9        IN THE UNITED STATES DISTRICT COURT
10      FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
12
                                           Case No. CV 19-1833 JWH (MRW)
13   DWAIN SCALES,
14                    Petitioner,
                                           JUDGMENT
15               v.
16   W.L. MONTGOMERY, Warden,
17                    Respondent.
18
19
20        Pursuant to the Order Accepting Findings and Recommendations of
21   the United States Magistrate Judge,
22        It is hereby ORDERED, ADJUDGED, and DECREED that the
23   petition is DENIED and that this ac      DISMISSED      i h     j dice.
24
25   DATE: May 3, 2021
26                                     UNITED STATES DISTRICT JUDGE
27
28
